Case 8:14-cv-00110-EAK-TBM Document 16 Filed 05/08/14 Page 1 of 2 PageID 82



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

  THOMAS COPE,
  an individual,
                                                       Case No.: 8:14-cv-110-EAK-TBM
          Plaintiff,
  v.

  OCWEN LOAN SERVICING, LLC,
  a foreign limited liability company,
  OCWEN FINANCIAL CORPORATION,
  a Florida for-profit corporation, and
  ALTISOURCE SOLUTIONS, INC.,
  a foreign for-profit corporation,

        Defendants.
  _____________________________________/

                                 JOINT STIPULATION FOR
                              DISMISSAL WITHOUT PREJUDICE

          COME NOW, Plaintiff, Thomas Cope (hereinafter, “Plaintiff”), and Defendants,

  Ocwen Loan Servicing, LLC, Ocwen Financial Corporation, and Altisource Solutions,

  Inc. (hereinafter collectively, “Defendants”), by and through the undersigned counsel and

  pursuant to Federal Rules of Civil Procedure, Rule 41(a)(1)(A)(ii), and hereby file this

  Joint Stipulation for Dismissal without Prejudice. In support thereof, Plaintiff states as

  follows:

          1.      After conference among counsel for Plaintiff and Defendants (hereinafter

  collectively, “Parties”), Parties have agreed that it is appropriate to dismiss Plaintiff’s

  claims in their entirety.

          2.      Plaintiff’s claims are being dismissed without prejudice.
Case 8:14-cv-00110-EAK-TBM Document 16 Filed 05/08/14 Page 2 of 2 PageID 83



           3.     The Parties agree that the Parties shall bear their own attorney’s fees and

  costs.

           DATED this 6th day of May 2014.

  Respectfully submitted,

  LEAVENGOOD, DAUVAL & BOYLE, P.A.                  BAKER, DONELSON, BEARMAN,
                                                    CALDWELL, BERKOWITZ, PC
  /s/ Aaron M. Swift
  Ian R. Leavengood, Esq., FBN10167                 /s/ A. Renee Decker
  Aaron M. Swift, Esq., FBN 93088                   A. Renee Decker, Esq., FBN 60384
  Northeast Professional Center                     100 Southeast Third Avenue, Suite 2626
  3900 First Street North, Suite 100                Ft. Lauderdale, FL 33394
  St. Petersburg, FL 33703                          Phone: (954) 768-1600
  Phone: (727) 327-3328                             Fax: (954) 867-1326
  Fax: (727) 327-3305                               rdecker@bakerdonelson.com
  ileavengood@leavenlaw.com                         Attorneys for Defendants
  aswift@leavenlaw.com
  Attorneys for Plaintiff



                               CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a copy of the foregoing Joint Stipulation for Dismissal
  without Prejudice has been furnished electronically this 8th day of May 2014 to:

           Ms. A. Renee Decker, Esq.
           100 Southeast Third Avenue, Suite 2626
           Ft. Lauderdale, FL 33394
           rdecker@bakerdonelson.com
           Attorneys for Defendants


                                                /s/ Aaron M. Swift
                                                Attorney
